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GLORIA ALLRED, SBN 65033
NATHAN GOLDBERG, SBN 61292
DOLORES Y. LEAL, SBN 134176

dleal@amglaw.com
RENEE MOCHKATEL, SBN 106049
rmochkatel@amglaw.com
LAW OFFICES
ALLRED, MAROKO & GOLDBERG
SUITE 1500

6300 WILSHIRE BOULEVARD
Los ANGELES, CA 90048-5217
Telephone No. (323 653-6530

ax No. (323) 653-1660

Attorneys for Plaintiff, QUASHAY DAVIS

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

QUASHAY DAVIS,

Plaintiff,
Vs.

JAMAL RASHID (aka MOLLY
MALL), an individual, and DOES 1
through 10, inclusive,

Defendants.

 

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CASE NO:

COMPLAINT FOR DAMAGES:

1. | GENDER VIOLENCE (Cal.
Civil Code §52.4)

2. SEXUAL BATTERY (Cal.
Civil Code §1708.5)

3. VIOLATION OF THE
CALIFORNIA RALPH ACT -

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FREEDOM FROM VIOLENCE
OR INTIMIDATION (Cal. Civ.
Code §51.7)

FALSE IMPRISONMENT

INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS

ASSAULT

BATTERY

INTERFERENCE WITH
EXERCISE OF CIVIL RIGHTS
(Cal. Civ. Code §52.1)

JURY TRIAL DEMANDED

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Plaintiff QUASHAY DAVIS, by and through her attorneys, ALLRED,
MAROKO & GOLDBERG, for her Complaint against Defendant JAMAL
RASHID (aka MOLLY MALL), alleges on knowledge as to her own actions, and
otherwise upon information and belief, as follows:

I. NATURE OF THE ACTION

l. This is an action for damages to remedy sexual and gender violence in
violation of the California Civil Code §52.1; the California Ralph Act, Cal. Civ.
Code §51.7; the California Bane Act Cal. Civ. Code §52.1; and false imprisonment,
violence, and threats of violence under California state common law.

a Plaintiff Davis alleges that Defendant Rashid committed gender
violence against her, sexually battered her, inflicted and threatened violence
because of her sex; falsely imprisoned her inside of his Encino, California home;
intentionally inflicted emotional distress upon her; assaulted her; and battered her.

3. Plaintiff seeks general, compensatory, and punitive damages in an
amount to be determined at trial; and civil penalties; attorneys’ fees and costs as
provided by statute.

Il. JURISDICTION AND VENUE

4. This Court has jurisdiction over this action pursuant to 28 U.S.C.
Section 1332(a)(1), in that this is a civil action between a citizen of Texas
(Plaintiff), and a citizen of California (Defendant), and the amount in controversy
exceeds $75,000, exclusive of interests and costs.

5. Plaintiff Davis has her permanent address in Arlington, Texas, where
she permanently resides, works, pays taxes. She further intends to stay in Texas
indefinitely and is therefore a citizen of Texas.

6. On information and belief, Defendant Rashid owns a residence at 4434
Grimes Plaza Encino, California 91316. Los Angeles County, California is the
place in which he primarily stays and intends to stay in the future. He is therefore

domiciled in California and is a citizen of California.

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Te Venue is proper in this district under 28 U.S.C. Section 1391(b)(2), in
that all of the events or omissions giving rise to the claim occurred in the County of
Los Angeles, California, located in this District.

Il. THE PARTIES

8. Plaintiff QUASHAY DAVIS (hereinafter referred to as "Ms. Davis" or
"Plaintiff") is, an individual who resides in Arlington, State of Texas.

9. Upon information and belief, Defendant JAMAL RASHID (hereinafter
referred to as "Defendant Rashid" or "Defendant") is an individual who primarily
resides at 4434 Grimes Plaza, Encino, California, 91316. Defendant Rashid is also
known as "Mally Mall." Upon information and belief, Defendant Rashid is a citizen
of the State of California.

IV. FACTS

10. Ms. Davis is 26 years of age and works as a freelance fitness, swim,
and clothing model. She maintains a profile on Instagram, a picture-centered social
media platform, through which people can view her pictures and inquire directly
about modeling opportunities.

11. On information and belief, Defendant Rashid is a hip-hop record
executive, producer and businessman who has worked with high-profile artists
including Chris Brown, Drake, Usher, and Snoop Dogg. He has 1.4 million
followers on Instagram.

12. On December 28, 2018, Defendant Rashid first contacted Ms. Davis
via direct message to her Instagram account.

13. Over the next approximately two weeks, Ms. Davis and Defendant
Rashid exchanged Instagram direct messages, text messages, and phone and video
calls. On the phone, Defendant Rashid and Ms. Davis discussed that Defendant
Rashid would help her come up with "creative ideas" for her fitness business,
connect her with someone high-profile to promote her fitness modeling, and shoot

her videos with high-quality equipment. Ms. Davis was excited about this

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opportunity for her modeling and fitness career.
14. They planned that Ms. Davis would spend a few days in Los Angeles,
California while the photoshoot was ongoing. Then, Defendant Rashid would pay

for her return flight to her home in Arlington, Texas when the photoshoot was

complete.
15. On January 12, 2019, Ms. Davis flew to Los Angeles International
Airport (LAX) from the Dallas Fort Worth (DFW) Airport in Texas.

16. When Ms. Davis arrived at LAX, Defendant Rashid, or one of his
agents, sent an Uber driver to pick her up from the airport. The Uber drove her
directly to Defendant Rashid's private residence in Encino, California. Ms. Davis
was surprised that she had been taken to Defendant Rashid's private home because
her understanding was that they were to have a professional meeting.

17. | When she arrived at his home, Defendant Rashid's security guards
escorted Ms. Davis to the third-story of the home. There, the master-bedroom door
was locked with a 4-digit electronic passcode. Defendant Rashid's private security

entered the code and ushered Ms. Davis inside.

 

 

18. Defendant Rashid was alone in the large room, lying on a bed. When
Ms. Davis entered the room, she was very apprehensive and confused as to why she
was in his bedroom. Still, she attempted to keep the tone professional and asked
Defendant Rashid what the agenda would be for her trip.

19. However, Defendant Rashid did not wish to discuss business as
planned. Instead, he responded that they would be leaving in a minute, but first,
there was a masseuse named Jasmine coming to massage him.

20. Shortly after, a woman who identified herself as "Jayla Foxx" entered
the bedroom. Defendant Rashid introduced her as an "ex-porn star," and suggested
that Ms. Davis could train her to get into better shape. Defendant Rashid then sent
Jayla Foxx to get food and drinks for Defendant Rashid and Ms. Davis.

21. When Jayla Foxx returned with their food and drinks, Defendant

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Rashid offered Ms. Davis an alcoholic drink with Hennessey cognac. Ms. Davis
accepted and drank the beverage.

22. After the drink, Ms. Davis became aware that her mind and body were
under the influence of drugs. She felt dizzy, and her vision was blurry.

23. Ms. Davis blacked out. The next thing she remembers is that she was
naked on a massage table. A masseuse massaged Ms. Davis, but Ms. Davis
struggled to feel it at all.

24. Some time after the massage, Defendant Rashid repeatedly slapped Ms.
Davis across both sides of her face as she attempted to maintain consciousness. Her
head flopped side to side as he hit her.

25. Defendant Rashid asked Ms. Davis "Why are you so pretty?" and gave
her more to drink. Afterwards, he continued slapping her face and told Ms. Davis "I
love you," "You're my new bitch," and "You're my Jayla number two."

26. Though Ms. Davis still felt under the influence of drugs and alcohol,
Defendant Rashid took her to his closet and pressured her to snort cocaine. When
she said she did not want it, he grabbed her face in an attempt to force her to ingest
it. Ms. Davis refused and told him "no!" Finally, Defendant Rashid let go of her
face to snort cocaine himself.

27. Still in the closet, Defendant Rashid grabbed Ms. Davis by the neck
and choked her with his hand until she almost lost consciousness from the lack of
oxygen. Ms. Davis grasped at his hand to try to stop him, but she was not strong
enough to overpower him.

28. Defendant Rashid did not relent. He forced Ms. Davis onto the ground,
then forced her to perform oral sex on him. Further, he pushed Ms. Davis down and
began to roughly sexually penetrate her.

29. Ms. Davis was terrified and in pain. She did not consent, and she
clearly told Defendant Rashid that "it hurts" and "no, I can't [do this]."

30. Still Defendant Rashid persisted. He told her to "trust me" and "I'm

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your new Daddy." Further, he told her "I want you to be my new bitch," and
"There's something about you that makes me love you."

31. Ms. Davis repeated that the penetration was painful and asked
Defendant Rashid to "please stop." Instead of stopping, he proceeded to place more
of his body weight on her and demanded that she "throw [her] ass back." He also
forced Ms. Davis' arms above her head and held them there. Ms. Davis feared for
her life and worried that he would crush or choke her to death.

32. When Defendant Rashid was finally finished, Ms. Davis was shocked,
humiliated, and in serious pain.

33.  Inor around the January 13, 2019, Ms. Davis woke up in Defendant
Rashid's bedroom next to a naked young woman. Ms. Davis confided in the young
woman that Ms. Davis was afraid Defendant Rashid would make her go back inside
the closet and rape her again. The young woman responded that Defendant Rashid
had also pressured her into the closet to perform sex acts on him. They stopped
talking about it when Jayla Foxx entered the room.

34. Defendant Rashid pressured both of them to start drinking alcohol. Ms.

 

Davis protested that it was "too early to be drinking." Defendant Rashid grew angry
with Ms. Davis for resisting and demanded that she "just drink."

35. Ms. Davis feared for her physical safety, so she acquiesced to
Defendant Rashid's demand. However, she attempted to spit the drink back into her
cup while he was looking away. Despite consuming little of the drink, Ms. Davis
felt the mental and physical effects of drugs. Later, Defendant Rashid and Jayla
Foxx told her that they had put "molly," also known as ecstasy, in her drink.

36. Defendant Rashid led Ms. Davis into his closet again. He again choked
her, forced her to perform oral sex on him, and roughly penetrated her without her
consent.

37. In addition to being a victim of Defendant Rashid's sexual assault and

rape, Plaintiff witnessed Defendant Rashid bringing other women in his bedroom

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and forcing them to perform sexual acts on him.

38. Several young women entered the bedroom in Ms. Davis' presence,
performed sex acts on Defendant Rashid, and called him "Daddy." Ms. Davis was
thereby subjected to a hypersexualized environment and pornographic contact as
women engaged in group sexual acts on Defendant Rashid. She was humiliated by
this behavior.

39. When Defendant Rashid was finished with the other women, he
demanded that Ms. Davis hold him and say that she loves him. When Ms. Davis
said she didn't want to, Defendant Rashid got aggressive and yelled a string of

racial and gender slurs. He called Ms. Davis a "stupid dumb nigger," "stupid bitch,"
and a "snappy bitch."

40. Ms. Davis was terrified of Defendant Rashid, who is larger than her
and was clearly angry and aggressive. She attempted to get space away from him
because she did not want him to touch her, but the further away she went, the
angrier Defendant Rashid grew. He twice told Ms. Davis "if you leave my room, I
will kill you!"

41. Ms. Davis believed that he would act on this threat, especially because
Defendant Rashid had private security and had not let Ms. Davis exit his bedroom
for any reason while he was awake.

42. On information and belief, at least some of the other young women in
the room were not allowed to go freely in and out of the bedroom.

43. Defendant Rashid would occasionally pass out after using drugs.

44. Onor about Monday, January 14, 2019, Ms. Davis was in terrible pain
in her vaginal and groin area. While Defendant Rashid was asleep, she packed her
bag and snuck out of the room. Ms. Davis then found Jayla Foxx sleeping in a
different part of the house, woke her up, and asked her to take her to the doctor
because of the pain she was in.

45. Jayla Foxx then drove Ms. Davis to an Urgent Care facility for medical

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treatment of her injuries inflicted by Defendant Rashid. Medical personnel
examined Ms. Davis and found that her injuries were consistent with a rape. They

contacted the Los Angeles Police Department, who transported Ms. Davis for

 

further examination and treatment at a nearby hospital.

46. After receiving preliminary medical treatment, Ms. Davis flew home
from LAX to DFW. In Texas, Ms. Davis completed a Sexual Assault and Response
Team ("SART") exam.

47. As adirect and proximate result of Defendant's unlawful conduct as
alleged hereinabove, Plaintiff has suffered physical injury, severe emotional
distress, humiliation, embarrassment, mental and emotional distress and anxiety,
and economic harm, all in an amount exceeding the jurisdictional minimum of
Federal Court according to proof at trial.

48. The aforementioned conduct by Defendants was willful, wanton, and
malicious. At all relevant times, each Defendant acted with conscious disregard of
the Plaintiff's rights and feelings. Each Defendant also acted with the knowledge of
or with reckless disregard for the fact that his conduct was certain to cause injury
and/or humiliation to the Plaintiff. Plaintiff is further informed and believes that
Defendants intended to cause fear, physical injury and/or pain and suffering to the
Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive and
exemplary damages from Defendant according to proof.

Vv. STATEMENT OF CLAIMS
FIRST CAUSE OF ACTION
(Gender Violence in Violation of California Civil Code §52.3)

49. Plaintiff repeats and realleges each and every allegation contained in
paragraph | through paragraph 48 hereof, with the same force and effect as if full
set forth herein.

50. Cal. Civ. Code Section 52.4(c) defines "gender violence" as: (1) one or

more acts that would constitute a criminal offense under state law that has as an

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element the use, attempted use, or threatened use of physical force against the
person or property of another, committed at least in part based on the gender of the
victim, whether or not those acts have resulted in criminal complaints, charges,
prosecution, or conviction. (2) A physical intrusion or physical invasion of a sexual
nature under coercive conditions, whether or not those acts have resulted in
criminal charges, complaints, charges, prosecution or conviction.

51. As alleged hereinabove, Defendant Rashid committed a physical
intrusion of a sexual nature under coercive conditions onto Ms. Davis' person in
violation of Cal. Civ. Code Section 52.4. Despite Ms. Davis' clear and consistent
objections, Defendant Rashid proceeded to roughly sexually penetrate her, choke
her, and hold her down.

52. Defendant Rashid's conduct was committed at least in part based on

 

the plaintiff's gender.

53. Asa direct and proximate result of Defendant's actions, Plaintiff Davis
has suffered physical injury, severe emotional distress, humiliation, embarrassment,
mental and emotional distress and anxiety, and ts entitled to general and
compensatory damages in an amount according to proof at trial.

54. As adirect and proximate result of Defendant's actions alleged
hereinabove, Plaintiff Davis has suffered economic harm and other consequential
damages, all in an amount according to proof at trial.

55. Plaintiff Davis is informed and believes, and based thereon alleges,
that the outrageous conduct of Defendant Rashid described above was done with
malice, fraud and oppression and with conscious disregard for her rights and with
the intent, design and purpose of injuring her. By reason thereof, Plaintiff Davis is
entitled to punitive or exemplary damages from Defendant in a sum according to
proof at trial.

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SECOND CAUSE OF ACTION
(Sexual Battery in Violation of California Civil Code §1708.5)

56. Plaintiff repeats and realleges each and every allegation contained in
paragraph | through paragraph 48 hereof, with the same force and effect as if full
set forth herein. California Civil Code §1708.5(a)(1)-(3) provides:

57. In doing the acts described herein, Defendant Rashid acted with the
intent to make offensive contact with Plaintiff Davis. He did, in fact, bring himself
into offensive and unwelcome sexual contact with Plaintiff as described
hereinabove.

58. As described more fully above, Defendant Rashid subjected Plaintiff
Davis to unconsented and intentional invasions of her right to be free from sexually
offensive and harmful physical contact.

59. Asa direct and proximate result of Defendant's actions, Plaintiff Davis
has suffered physical injury, severe emotional distress, humiliation, embarrassment,
mental and emotional distress and anxiety, and is entitled to general and
compensatory damages in an amount according to proof at trial.

60. Asadirect and proximate result of Defendant's actions alleged
hereinabove, Plaintiff Davis has suffered economic harm and other consequential
damages, all in an amount according to proof at trial.

61. Plaintiff Davis is informed and believes, and based thereon alleges,
that the outrageous conduct of Defendant Rashid described above was done with
malice, fraud and oppression and with conscious disregard for her rights and with
the intent, design and purpose of injuring her. By reason thereof, Plaintiff Davis is
entitled to punitive or exemplary damages from Defendant in a sum according to
proof at trial.

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THIRD CAUSE OF ACTION
(Violation of the California Ralph Act Civ. Code §51.7 et seq.)

62. Plaintiff Davis repeats and realleges each and every allegation
contained in paragraph | through paragraph 48 hereof, with the same force and
effect as if full set forth herein.

63. California Civil Code § 51.7(a), "Freedom from violence or
intimidation..." provides: "All persons within the jurisdiction of this state have the
right to be free from any violence, or intimidation by threat of violence, committed
against their persons or property because of... or on account of any characteristic
listed or defined in subdivision (b) or (e) of Section 51." One such characteristic
listed therein is "sex."

64. Defendant Rashid committed violent acts against Ms. Davis as alleged
above, including, inter alia, slapping, choking, sexual assault and rape. He also
threatened physical violence and threatened to kill Plaintiff Davis if she attempted
to flee his room.

65. A substantial motivating reason for Defendant Rashid's conduct was
Ms. Davis' sex, as evidenced by Defendant Rashid's pattern of behavior towards
women in his bedroom, and by his use of gendered slurs.

66. Defendant Rashid's conduct was a substantial factor in causing
Plaintiff Ms. Davis' harm.

67. Asadirect and proximate result of Defendant's actions, Plaintiff Davis
has suffered physical injury, severe emotional distress, humiliation, embarrassment,
mental and emotional distress and anxiety, and is entitled to general and

compensatory damages in an amount according to proof at trial.

 

68. As adirect and proximate result of Defendant's actions alleged
hereinabove, Plaintiff Davis has suffered economic harm and other consequential
damages, all in an amount according to proof at trial.

69. Defendant Rashid's conduct was malicious and oppressive, and done

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with a conscious disregard of Plaintiff Davis' rights. Plaintiff is entitled to punitive
damages from Defendant in an amount to be determined at trial.
FOURTH CAUSE OF ACTION
(False Imprisonment)

70. Plaintiff Davis repeats and realleges each and every allegation
contained in paragraph | through paragraph 48 hereof, with the same force and
effect as if full set forth herein.

71. Defendant Rashid intentionally deprived Plaintiff Davis of her freedom
of movement by use of physical barriers, force and threats of force. Specifically, he
had his private security escort Ms. Davis when she was outside of Defendant
Rashid's bedroom, had a lock on the outside of his bedroom, and twice told her "if
you leave my room, I will kill you!" when she attempted to flee.

72. The confinement compelled Ms. Davis to stay in Defendant Rashid's
control over the course of approximately two days, an appreciable amount of time.

73. Plaintiff Davis did not knowingly or voluntarily consent to stay in
Defendant Rashid's home and bedroom.

74. As adirect and proximate result of Defendant's false imprisonment of
Plaintiff Davis, she has suffered and will continue to suffer extreme and severe
mental anguish and emotional distress. Plaintiff is thereby entitled to general and
compensatory damages in amounts to be proven at trial.

75. Defendant Rashid's conduct was malicious and oppressive, and done
with a conscious disregard of Plaintiff Davis' rights. Plaintiff is entitled to punitive
damages from Defendant in an amount to be determined at trial.

FIFTH CAUSE OF ACTION
(Intentional Infliction of Emotional Distress)

76. Plaintiff Davis repeats and realleges each and every allegation

contained in paragraph | through paragraph 48 hereof, with the same force and

effect as if full set forth herein.

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77. Defendant Rashid's conduct described herein was extreme and
outrageous. Among other things, he slapped, choked, drugged, and raped Plaintiff
Davis, then trapped her in his bedroom with other women and threatened to kill her
if she tried to leave.

78. Defendant Rashid intended to cause Plaintiff Davis' emotional distress,
or, in the alternative, acted with reckless disregard for the probability that Ms.
Davis would suffer emotional distress when he did the acts described above.

79. Asa direct and proximate result of Defendant's actions, Plaintiff Davis
has suffered physical injury, severe emotional distress, humiliation, embarrassment,
mental and emotional distress and anxiety, and is entitled to general and
compensatory damages in an amount according to proof at trial. As a direct and
proximate result of Defendant's actions alleged hereinabove, Plaintiff Davis has
suffered economic harm and other consequential damages, all in an amount
according to proof at trial.

80. Defendant Rashid's conduct was malicious and oppressive, and done
with a conscious disregard of Plaintiff Davis' rights. Plaintiff is entitled to punitive
damages from Defendant in an amount to be determined at trial.

SIXTH CAUSE OF ACTION
(Assault)

81. Plaintiff Davis repeats and realleges each and every allegation
contained in paragraph | through paragraph 48 hereof, with the same force and
effect as if full set forth herein.

82. Defendant Rashid threatened to touch her in a harmful manner when he
twice threatened to kill her if she left his bedroom.

83. Itreasonably appeared to Ms. Davis that Defendant Rashid was about
to carry out the threat.

84. Ms. Davis did not consent to Defendant Rashid's conduct.

85. Asadirect and proximate result of Defendant Rashid's threats and

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intimidation, Plaintiff Davis has suffered and will continue to suffer extreme and
severe mental anguish, and emotional distress. Plaintiff is hereby entitled to general
and compensatory damages in amounts to be proven at trial.

86. Defendant Rashid's conduct was malicious and oppressive, and done
with a conscious disregard of Plaintiff Davis' rights. Plaintiff is entitled to punitive
damages from Defendant in an amount to be determined at trial.

SEVENTH CAUSE OF ACTION
(Battery)

87. Plaintiff Davis repeats and realleges each and every allegation
contained in paragraph | through paragraph 48 hereof, with the same force and
effect as if full set forth herein.

88. In doing the acts described herein, Defendant Rashid acted with the
intent to make contact with Plaintiff. He did, in fact, bring himself into unwelcome
contact with Plaintiff Davis as described hereinabove.

89.  Atall relevant times, Plaintiff Davis found the contacts by Defendant
Rashid to be offensive to her person and dignity.

90. As described more fully above, Defendant Rashid subjected Plaintiff to
unconsented and intentional invasions of her right to be free from offensive and
harmful physical contact.

91.  Asadirect and proximate result of Defendant's actions, Plaintiff Davis
has suffered physical injury, severe emotional distress, humiliation, embarrassment,
mental and emotional distress and anxiety, and is entitled to general and
compensatory damages in an amount according to proof at trial.

92. As adirect and proximate result of Defendant's actions alleged
hereinabove, Plaintiff Davis has suffered economic harm and other consequential
damages, all in an amount according to proof at trial.

93. Plaintiff Davis is informed and believes, and based thereon alleges,

that the outrageous conduct of Defendant Rashid described above was done with

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malice, fraud and oppression and with conscious disregard for her rights and with
the intent, design and purpose of injuring her. By reason thereof, Plaintiff Davis is
entitled to punitive or exemplary damages from Defendant in a sum according to
proof at trial.
EIGHTH CAUSE OF ACTION
(Interference with Exercise of Civil Rights - Violation of Cal. Civ. §52.1)

94. Plaintiff Davis repeats and realleges each and every allegation
contained in paragraph | through paragraph 48 hereof, with the same force and
effect as if full set forth herein.

95. Cal. Civ. Code §52.1, the Bane Act, provides that it is unlawful to
interfere with the exercise of enjoyment of any rights under the Constitution and
laws of California and the United States by use or attempted use of threats,
intimidation or coercion.

96. Cal. Civ. Code §§51.7 and 52.4 guarantee the rights to persons in
California to be free from assault, battery, and/or violence or threats of violence
based on his or her sex

97. Cal. Civ. Code §43 guarantees the right to every person the right of
protection from bodily restraint or harm and personal insult.

98. As alleged hereinabove, Defendant intentionally interfered with or
attempted to interfere with Plaintiff's clearly established rights guaranteed under
United States and California laws, including, but not limited to, Plaintiff's right to
protection from battery, assault, false imprisonment, gender violence, and rape by
intimidation and coercion.

99. As adirect and proximate result of Defendant's actions, Plaintiff Davis
has suffered physical injury, severe emotional distress, humiliation, embarrassment,
mental and emotional distress and anxiety, and is entitled to general and
compensatory damages in an amount according to proof at trial.

100. As a direct and proximate result of Defendant's actions alleged

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hereinabove, Plaintiff Davis has suffered economic harm and other consequential
damages, all in an amount according to proof at trial.

101. Plaintiff Davis is informed and believes, and based thereon alleges,
that the outrageous conduct of Defendant Rashid described above was done with
malice, fraud and oppression and with conscious disregard for her rights and with
the intent, design and purpose of injuring her. By reason thereof, Plaintiff Davis is
entitled to punitive or exemplary damages from Defendant in a sum according to
proof at trial

102. In addition to and/or in lieu of Plaintiff's election, Plaintiff is entitled to
receive and hereby seeks statutory damages pursuant to Cal. Civ. Code §52(b).,
including actual and exemplary damages.

103. Pursuant to Cal. Civ. Code §52(b)(3), Plaintiff has incurred, and will
continue to incur, attorneys' fees in the prosecution of this action and therefore
demands such reasonable attorney's fees and costs as set by the court.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Davis requests judgment as follows:

I, On Count One, awarding general, compensatory, and punitive damages
in favor of Plaintiff Davis, in an amount to be determined at trial, plus prejudgment
interest and attorneys’ fees and costs.

2. On Count Two, awarding general, compensatory, and punitive
damages in favor of Plaintiff Davis, in an amount to be determined at trial, plus
prejudgment interest and attorneys' costs and fees.

3. On Count Three, awarding general, compensatory, and punitive
damages in favor of Plaintiff Davis, in an amount to be determined at trial, plus
prejudgment interest, attorneys' costs and fees, and civil penalties as provided for by
law.

4, On Count Four, awarding general, compensatory, and punitive

damages in favor of Plaintiff Davis, in an amount to be determined at trial, plus

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prejudgment interest and costs.

5. On Count Five, awarding general, compensatory, and punitive
damages in favor of Plaintiff Davis, in an amount to be determined at trial, plus
prejudgment interest.

6. On Count Six, awarding general, compensatory, and punitive damages
in favor of Plaintiff Davis, in an amount to be determined at trial, plus prejudgment
interest.

7. On Count Seven, awarding general, compensatory, and punitive
damages in favor of Plaintiff Davis, in an amount to be determined at trial, plus
prejudgment interest.

8. On Count Eight, awarding general, compensatory, and punitive
damages in favor of Plaintiff Davis, in an amount to be determined at trial, plus
prejudgment interest, attorneys' costs and fees, and civil penalties as provided for by
law.

9. Granting Plaintiff Davis such other and further relief as the Court
deems just and proper.

VI. JURY DEMAND

Plaintiff requests a jury trial on all questions of fact raised by her complaint.

DATED: January /@_, 2020 ALLRED, MAROKO & GOLDBERG

By:

 

DOLORES Y. LEAS

Attorneys for Pléintiff,

QUASHAY DAVIS

6300 Wilshire Boulevard, Suite 1500
Los Angeles, CA 90048
dleal@ameglaw.com

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